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                     EXHIBIT A
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ANTHONY L. VELASQUEZ, ESQ. (021651997)
575 Rt. 70, 2nd Fir.; P.O. Box 1030
Brick, New Jersey 08723
(t)732-903-1966; (f)732-416-7861
avelastiucy/fl'irvkG.coni
Attorney for Plaintiff
 WILLOW SPRINGS OPERATOR, LLC,                          SUPERIOR COURT OF NEW JERSEY
                  Plaintiff,                            OCEAN COUNTY
 v.                                                     LAW DIVISION

 USI INSURANCE SERVICES, LLC;                      Docket No.: OCL-L-2849-18
 SEAN HOOD; LISA OLSON; HEALTH
 CAP RRG; CHELSEA-RHONE, LLC;
 and HEALTH CARE INDUSTRY
 LIABILITY RECIPROCAL
                                                   SUMMONS
 INSURANCE COMPANY, A RISK
 RETENTION GROUP,
                         Defendant(s).
From The State of New Jersey To The Defcndant(s) Named Above:

The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint
attached to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must
file a written answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed
above within 35 days from the date you received this summons, not counting the date you received it. (A directory
of the addresses of each deputy clerk of the Superior Court is available in the Civil Division Management Office in
the county listed above and online at hUn://www.iudiciarY.slalu.nj.us/prpsc/! 0153 dcplvclerklawref.pdf.) If the
complaint is one in foreclosure, then you must file your written answer or motion and proof of service with the
Clerk of the Superior Court, Hughes Justice Complex, P.O. Box 971, Trenton, NJ 08625-0971. A filing fee
payable to the Treasurer, State of New Jersey and a completed Case Information Statement (available from the
deputy clerk of the Superior Court) must accompany your answer or motion when it is filed. You must also send
a copy of your answer or motion to plaintiffs attorney whose name and address appear above, or to plaintiff, if no
attorney is named above. A telephone call will not protect your rights; you must file and serve a written answer or
motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against
you for the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the
Sheriff may seize your money, wages or property to pay all or part of the judgment.

If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the
Legal Services of New Jersey Statewide Hotline at I-888-LSNJ-LAW (1-888-576-5529). A list of these offices is
provided. If you do not have an attorney and are not eligible for free legal assistance, you may obtain a referral to
an attorney by calling one of the Lawyer Referral Services. A directory with contact information for local Legal
Services Offices and Lawyer Referral Services is available in the Civil Division Management Office in the county
listed above and online at http://www.iti liciarx Aintc.ni.us/prosu/UH 53 dcptvclerklawrcf.pdl'.

                                                                  ffilf- SinUfi, faq.________________

                                                           Clerk of the NJ Superior Court 11/27/2018

Name/ Address of Defendant to Be Served: Sean Hood. 3 Executive Park Drive. Suite 300, Bedford. Ni l. 03110
Case 3:19-cv-00035-BRM-DEA Document 1-2 Filed 01/02/19 Page 3 of 47 PageID: 10




                         Civil Case Information Statement
  Case Details: OCEAN | Civil Part Docket# L-002849-18

 Case Caption: WIU-OW SPRINGS OPERATOR LLC VS                     Case Type: CONTRACT/COMMERCIAL TRANSACTION
 USI INSURANCES                                                   Dooumont Typo: Complaint with Jury Demand
 Case Initiation Date: 11/27/2018                                 Jury Demand: YES -12 JURORS
 Attorney Name: ANTHONY LOUIS VELASQUEZ                           Hurricane Sandy related? NO
 Firm Name: FIRST PROPERTY                                        Is this a professional malpractice case? YES
 Address: 575 RT 70 2ND FL PO BOX 1030                            Related cases pending: NO
 BRICK NJ 08723                                                   If yes, list docket numbers:
 Phone:                                                           Do you anticipate adding any parties (arising out of same
 Name of Party: PLAINTIFF Willow Springs Operator, LLC            transaction or occurrence)? NO
 Name of Defendant's Primary Insurance Company
 (If known)- None



       THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                       CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




  Do parties have a current, past, or recurrent relationship? YES

  If yes, is that relationship: Business

  Does the statute governing this case provide for payment of fees by the losing party? YES

  Use this space to alert the court to any special case characteristics that may warrant individual
  management or accelerated disposition:



  Do you or your client need any disability accommodations? NO
          If yes, please identify the requested accommodation:



  Will an interpreter be needed? NO
           If yes, for what language:




  I certify that confidential personal identifiers have been redacted from documents now submitted to the
  court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

  11/27/2018                                                                          /S/ ANTHONY LOUIS VELASQUEZ
  Dated                                                                                                               Signed
Case 3:19-cv-00035-BRM-DEA Document 1-2 Filed 01/02/19 Page 4 of 47 PageID: 11
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 nvdustniezifolrvko.com
 Attorney for Plaintiff
  WILLOW SPRINGS OPERATOR, LLC,                     SUPERIOR COURT OF NEW JERSEY
                                                    OCEAN COUNTY
                             Plaintiff              LAW DIVISION

  v.                                                Docket no, crcAJ'

  USI INSURANCE SERVICES, LLC;                      CIVIL ACTION
  SEAN HOOD; LISA OLSON; HEALTH
  CAP RRG; CHELSEA-RHONE, LLC;
  and HEALTH CARE INDUSTRY
  LIABILITY RECIPROCAL
  INSURANCE COMPANY, A RISK                         COMPLAINT
  RETENTION GROUP,

                          Defetidant(s).
  Plaintiff, WILLOW SPRINGS OPERATOR, LLC, (flic “Plaintiff’ or “Willow Springs”) having an

 address of 575 Route 70, 2nJ Floor, Brick, New Jersey, 08723, by way of complaint says as follows:

  THE PARTIES AND THE INSURANCE POLICY

  1. WILLOW SPRINGS OPERATOR, LLC, is a company licensed within the State of New Jersey that

       operates a residential skilled nursing facility known as “Willow Springs Nursing Home” with

       approximately 164 beds of both short-term and long-term care residents. It is located at 1049 Burnt

       Tavern Road, Brick, New Jersey.

  2. USI INSURANCE SERVICES, LLC ("USI”), is a licensed insurance broker. It is a registered

       foreign limited liability company with the State of New Jersey, at Business ID #0600312309. USI

       has offices located at 3 Executive Park Drive, Suite 300, Bedford, NH, 03110. Its registered agent

       for service of process within the State of New Jersey is "The Corporation Trust Company”, 820

       Bear Tavern Road, West Trenton, NJ, 08628.
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   3. HEALTH CAP RRG (“HealthCap”) is an insurer with offices located at 130 S. First Street, #400,

      Ann Arbor, MI, 48104. It offers policies for, among other things, senior care communities and

      long-term care communities. HealthCap ultimately issues policies in the natne of a risk retention

      “group” known as HEALTH CARE INDUSTRY LIABILITY RECIPROCAL INSURANCE

      COMPANY, A RISK RETENTION GROUP (the “Group”). On information and belief,

      HealthCap is a registered entity of CHELSEA-RHONE, LLC (“Chelsea-Rlione”), a licensed

      insurance producer within the State of New Jersey at #1283258. For these reasons, hereafter

      HealthCap, the Group and Chelsea-Rlione shall be referred to collectively as “HC-CR” unless

      otherwise noted singularly.

   4. SEAN HOOD (“Hood”) is president of USI’s operations in New Hampshire and Vermont,

      including the Bedford, NH office identified above at paragraph 2. Hood is an insurance producer

      licensed by the State of New Jersey at #0335010.

   5. LISA OLSON (“Olson") is vice president of USI's operations New Hampshire and Vermont,

      including the Bedford, NH off ce identified above at paragraph 2. Olson is an insurance producer

      licensed by the State of New Jersey at #1629076.

   6. USI, Hood and/ or Olson had aggressively pursued Willow Springs and requested for Willow

      Springs to switch from its prior insurance agent to USI. Ultimately, these defendants secured

      several insurance policies for Willow Springs in the fall of 2016, including a claims-made GLPL

      (General Liability and Professional Liability) insurance policy and an excess insurance policy for

      Willow Springs (plus a workers compensation policy for a related company in Massachusetts under

      a different insurance carrier).

   7. USI, Hood and/ or Olson wrote the claims-made GLPL insurance policy for Willow Springs

      through insurer HC-CR.
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  8. The insurance policy had a coverage effective date of December 1,2016, through December 1,

     2017. The retroactive date for coverage was December 1,2014. The insurance policy is identified

     as number HRG-NH01-0007-CM-01 (the “policy”).

  9. During the application process, Willow Springs was never informed that there would be an

     endorsement or exclusion for pending or prior litigation and known incidents or occurrences.

  10. US1, Hood and/ or Olson failed to inform Willow Springs when the policy was obtained that there

     would be an endorsement or exclusion for pending or prior litigation and known incidents or

     occurrences.

  11. USI, Hood and/ or Olson failed to provide any documents or statements to Willow Springs to

     indicate that there would be contained within the policy an endorsement or exclusion for pending or

     prior litigation and known incidents or occurrences. In fact, USI failed to provide a sample or draff

     of the insurance policy prior to its issuance or throughout the entire term of the policy,

  12. USI failed to inquire from Willow Springs whether there were any pending or prior litigation and

     known incidents or occurrences, and instead the USI agents including Hood and Olson filled out the

     application and checked the box “no” for any pending or known litigation or incidents.

  13. USI, Hood and/ or Olson acted so as to secure the policy through insurer HC-CR.

  14. HC-CR failed to inform Willow Springs when the policy was obtained that there would be an

     endorsement or exclusion for pending or prior litigation and known incidents or occurrences.

  15. HC-CR failed to provide any documents or statements to Willow Springs to indicate that there

     would be contained within the policy an endorsement or exclusion for pending or prior litigation

     and known incidents or occurrences.

  16. HC-CR failed to communicate in any manner to Willow Springs that there would be contained

     within the policy an endorsement or exclusion for pending or prior litigation and known incidents

     or occuiTences.
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   ] 7. HC-CR failed to inquire in any manner from Willow Springs whether there were any pending or

      prior litigation and known incidents or occurrences,

   18. The policy was issued and took effect in December, 2016,

   19. Willow Springs was unaware that the policy contained within it an endorsement or exclusion for

      pending or prior litigation and known incidents or occurrences.

   20. US1, Hood, Olson and HC-CR all failed to provide a copy of the policy to Willow Springs upon its

      effective date or thereafter.

   21. Willow Springs reasonably relied upon Defendants that the claims-made GLPL insurance policy

      would provide coverage, defense and indemnification for claims arising within the operation of its

      business.

   THE CLAIM AGAINST WILLOW SPRINGS BY A FORMER PATIENT

   22. On March 31, 2015, Willow Springs admitted a patient Paul Lattarulo (“Lattarulo”) to its facility in

      Brick, NJ, for care.

   23. On or about May 17, 201 5, and May 21,2015, Lattarulo suffered separate trip and fall incidents at

      the Willow Springs facility.

   24. In January, 2016, Willow Springs received correspondence from two (2) separate attorneys for

      Lattarulo. Each attorney had requested Lattarulo’s medical records and other facility records. But

      no claims or indication of claims were made, referenced or indicated in any manner at that time.

   25. It is common for attorneys to request medical records of patients - sometimes for lawsuits arising

      out of a patient’s original injury or accident resulting in that patient’s attendance at the rehab

      facility or nursing home, and sometimes for matters such as Social Security funding and other such

      financial/ insurance applications being prepared and submitted by the attorney.

   26. A records request does not trigger on indication of a claim or potential claim against a facility,

       especially if it is unaccompanied by a statement that it relates to a claim, incident, fall, etc., such as
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     with the Lattarulo records request. Moreover, no farther request or claim had occurred for the

     following 14 months after the records request.

  27. When the records request was made in January, 2016, by Lattaruio’s attorney, Willow Springs

     spoke with its insurance agent at the time (Eli Kalman at Worthy Insurance) and confirmed that the

     request did not rise to the level of a claim or incident. As stated above, these records requests are

     common. Thus, the agent did not report it to GuideOne, the insurance carrier at the time.

  28. At the time of the US1 insurance policy’s application and inception, the Lattarulo records request

     was 10 months old, without any follow up, claim or indication of potential claim or action.

  29. As such, at the time of the USI insurance policy's application and inception Willow Springs did not

     have any indication that Lattarulo’s trip and fall incidents might be a potential claim; and Willow

     Springs did not have any indication that the new USI insurance policy contained within it an

     endorsement or exclusion for pending or prior litigation and known incidents or occurrences.

  30. The USI/ HC-CR policy took effect in December, 2016.

  31. Lattarulo filed a complaint on March 15, 2017, in NJ Superior Court against Willow Springs, its

     officers and its employees alleging various theories of negligence and wrongful action, and alleging

     that the slip and fall incidents resulted in injuries, pain, suffering and other damages to Lattarulo.

  32. Willow Springs received service of that Lattarulo complaint on or about April 7, 2017,

  33. Willow Springs immediately informed USI/ HC-CR of the claim

  34. In response, HC-CR inquired as to whether or not there had been a prior records request from

     Lattarulo, or from anyone on his behalf.

  35. Willow Springs informed HC-CR of the January, 2016, attorney records requests.

  36. Willow Springs also sought coverage under and through its prior insurer GuideOne Insurance.

  37. GuideOne responded with a denial of coverage - stating that notice of the claim was received more

     than 60 days after expiration of the GuideOne policy, which policy had expired on December 1,
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     2016, and had been replaced with the HC-CR policy. GuideOne Insurance stated that it thus fell

     outside of coverage.

  38. HC-CR responded on May 31, 2017 (after an extension), with a denial of coverage - stating that the

     policy contained an endorsement or exclusion for pending or prior litigation and known incidents or

     occurrences, and that such endorsement/ exclusion acted as a bar to the Lattarulo lawsuit.

  39. HC-CR stated that the records request in January, 2016, should have been sufficient to indicate a

     claim or potential claim, so as to require Willow Springs to disclose it.

  40. This denial on May 31, 2017, was the first time that Willow Springs learned that the policy

     contained an endorsement or exclusion for pending or prior litigation and known incidents or

     occurrences.

  41. This denial was also the first time that Willow Springs learned that the records request in January,

     2016, should have been sufficient to indicate a claim or potential claim.

  COUNT ONE - NEGLIGENCE OF USI, HOOD AND/ OR OLSON

  42. Each paragraph set forth above is hereby incorporated by reference, as if fully restated.

  43. USI, Hood and/ or Olson owed a duty to Willow Springs to investigate the insurance needs of

     Willow Springs prior to issuing its policy, including whether or not Willow Springs requited

     coverage for pending or prior litigation or known incidents or occurrences.

  44. USI, Hood and/ or Olson breached this duty and as a result, Willow Springs has been harmed and

     has suffered, or will suffer, damages.

  45. USI, Hood and/ or Olson owed a duty to Willow Springs to disclose to Willow Springs that the

      policy being issued would include an endorsement or exclusion for pending or prior litigation or

      known incidents or occurrences.

  46. USI, Hood and/ or Olson breached this duty and as a result, Willow Springs has been harmed and

      has suffered, or will suffer, damages.
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   47. USI. Hood and/ or Olson owed a duty to Willow Springs to advise Willow Springs of the

      significance of an endorsement or exclusion for pending or prior litigation or known incidents or

      occurrences.

   48. USI, Hood and1 or Olson breached this duty and as a result, Willow Springs has been harmed and

      has suffered, or will suffer, damages.

   49. USI, Hood and/ or Olson owed a duty to Willow Springs to advise Willow Springs that a records

      request would constitute sufficient notice of a claim or potential claim so as to be excluded under

      the policy.

   50. USI, Hood and/ or Olson breached this duty and as a result, Willow Springs has been banned and

      has suffered, or will suffer, damages.

   51. USI, Hood and/ or Olson owed a duty to Willow Springs to recommend that Willow Springs

      purchase tail coverage from its prior insurer due to the new policy’s inclusion of an endorsement or

      exclusion for pending or prior litigation or known incidents or occurrences.

   52. USI, Hood and/ or Olson breached this duty and as a result, Willow Springs has been banned and

      has suffered, or will suffer, damages.

   53. USI, Hood and/ or Olson owed a duty to Willow Springs to provide a draft of the policy prior to

      issuance so that Willow Springs could review the policy and discover that the policy would include

      an endorsement or exclusion for pending or prior litigation or known incidents or occurrences.

   54. USI, Hood and/ or Olson breached this duty and as a result, Willow Springs has been harmed and

      has suffered, or will suffer, damages.

   55. USI, Hood and/ or Olson owed a duty to Willow Springs to provide a copy of the policy after it was

      issued so that Willow Springs could review the policy and discover that the policy would include an

      endorsement or exclusion for pending or prior litigation or known incidents or occurrences.
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   56. USI, Hood and/ or Olson bleached this duty and as a result, Willow Springs has been harmed and

      has suffered, or will suffer, damages.

   57. US1, Hood and/or Olson owed a duty to Willow Springs to recommend that Willow Springs renew

      its existing insurance policy so as to avoid any coverage lapse with the new policy’s endorsement or

      exclusion for pending or prior litigation or known incidents or occurrences.

   58. USI, Hood and/ or Olson breached this duty and as a result, Willow Springs has been harmed and

      has suffered, or will suffer, damages.

    WHEREFORE, Plaintiff demands judgment as follows:

                 (a) Equitable relief and specific performance to reform insurance policy HRG-NH01-

                     0007-CM-01 to provide insurance, defense and indemnification to Plaintiff, and to

                     delete and void any policy endorsement and/ or exclusion for pending or prior

                     litigation or known incidents/ occurrences.

                 (b) Compensatory and punitive damages;

                 (c) Attorney fees and costs of suit; and

                 (d) Such other relief as the Court deems just, equitable and fair.

  COUNT TWO - NEGLIGENCE OF HC-CR

   59. Each paragraph set forth above is hereby incorporated by reference, as if fully restated.

   60. HC-CR owed a duty to Willow Springs to disclose to Willow Springs that the policy being issued

      by HC-CR would include an endorsement or exclusion for pending or prior litigation or known

      incidents or occurrences.

   61. HC-CR breached this duty and as a result, Willow Springs has been harmed and has suffered, or

      will suffer, damages.

   62. HC-CR owed a duty to Willow Springs to advise Willow Springs that a records request would

      constitute sufficient notice of a claim or potential claim so as to be excluded under the policy.
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   63. HC-CR breached this duty and as a result, Willow Springs has been harmed and has suffered, or

      will suffer, damages.

   64. HC-CR owed a duty to Willow Springs to provide a draft of the HC-CR policy prior to issuance so

      that Willow Springs could review the policy and discover that the policy would include an

      endorsement or exclusion for pending or prior litigation or known incidents or occurrences.

   65. HC-CR breached this duty and as a result, Willow Springs has been harmed and has suffered, or

      will suffer, damages.

   66. HC-CR owed a duty to Willow Springs to provide a copy of the HC policy after it was issued so

      that Willow Springs could review the policy and discover diat the policy would include an

      endorsement or exclusion for pending or prior litigation or known incidents or occurrences.

   67. HC-CR breached this duty and as a result, Willow Springs lias been harmed and lias suffered, or

      will suffer, damages.

   68. HC-CR owed a duty to confirm that the insurance applications being submitted by USI for it

      clients, including Willow Springs, were actually being completed and confirmed by the clients and

      not by USI simply filling out the responses on the application forms for its clients.

   69. HC-CR breached this duty and as a result, Willow Springs has been harmed and has suffered, or

      will suffer, damages.

    WHEREFORE, Plaintiff demands judgment as follows:

                 (a) Equitable relief and specific performance to reform insurance policy HRG-NH01-

                    0007-CM-01 to provide insurance, defense and indemnification to Plaintiff, and to

                     delete and void any policy endorsement and/ or exclusion for pending or prior

                     litigation or known incidents/ occurrences.

                 (b) Compensatory and punitive damages;

                 (c) Attorney fees and costs of suit; and
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                 (d) Such other relief as the Court deems just, equitable and fair.

  COUNT THREE ~ USI - BREACH OF DUTY OF GOOD FAITH AND FAIR DEALINGS

   70. Each paragraph set forth above is hereby incoiporated by reference, as if fully restated.

   71. USI and Willow Springs entered a contractual relationship whereby USI acted as the insurance

      agent/ producer for Willow Springs.

   72. All contracts within the State of New Jersey contain a duty of good faith and fair dealings.

   73. USI knew that Willow Springs operates a skilled nursing facility in Brick, NJ, with a population of

      aged persons.

   74. USI knew that slip and falls of aged persons occur within rehab centers and nursing facilities such

      as Willow Springs.

   75. USI caused to be applied for and issued, on Willows Springs’ behalf, a claims-made GLPL policy

      that included an endorsement or exclusion for pending or prior litigation or known incidents or

      occurrences.

   76. USI breached its duty of good faith and fair dealings by applying, obtaining and insuring Willow

      Springs under a policy that included an endorsement or exclusion for pending or prior litigation or

      known incidents or occurrences, despite USI’s knowledge of Willow Springs’ operations and

      Willow Springs’ need for a policy without such endorsement or exclusion.

   77. USI failed to indicate, advise or inform that a records request would constitute sufficient notice of a

       claim or potential claim so as to be excluded under the policy.

   78. USI breached its duty of good faith and fair dealings.

   79. As a result, Willow Springs has been harmed and has suffered, or will suffer, damages.

  WHEREFORE, Plaintiff demands judgment as follows:

          (a) Equitable relief and specific performance to reform insurance policy HRG-NH01-0007-CM-

             01 to provide insurance, defense and indemnification to Plaintiff, and to delete and void any
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             policy endorsement and/ or exclusion for pending or prior litigation or known incidents/

             occurrences.

         (b) Compensatory and punitive damages;

         (c) Attorney fees and costs of suit; and

         (d) Such other relief as the Court deems just, equitable and fair.

  COUNT FOUR - HC-CR - BREACH OF DUTY OF GOOD FAITH AND FAIR DEALINGS

   80. Each paragraph set forth above is hereby incorporated by reference, as if fully restated.

   81. HC-CR entered a contractual relationship with Willow Springs by virtue of the claims-made

      insurance policy.

   82. All contracts within the State of New Jersey contain a duty of good faith and fair dealings.

   83. The policy here was issued within the Slate of New Jersey, for a New Jersey company Willow

      Springs, and insures among other things the operations of Willow Springs at its New Jersey facility.

   84. HC-CR knew that Willow Springs operates a skilled nursing facility in Brick, NJ, with a population

      of aged persons.

   85. HC-CR knew that slip and falls of aged persons occur within nursing facilities such as Willow

      Springs.

   86. HC-CR caused to be issued a claims-made policy that included an endorsement or exclusion for

      pending or prior litigation or known incidents or occurrences, despite HC's knowledge of Willow

      Springs’ operations and Willow Spring’s need for a policy without such endorsement or exclusion.

   87. HC-CR failed to indicate, advise or inform that a records request would constitute sufficient notice

      of a claim or potential claim so as to be excluded under the policy.

   88. HC-CR breached its duty of good faith and fair dealings.

   89. As a result, Willow Springs has been harmed and has suffered, or will suffer, damages.

  WHEREFORE, Plaintiff demands judgment as follows:
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           (a) Equitable relief and specific performance to reform insurance policy HRG-NHOl-0007-

               CM-01 to provide insurance, defense and indemnification to Plaintiff, and to delete and

               void any policy endorsement and/ or exclusion for pending or prior litigation or known

               incidents/ occurrences.

           (b) Compensatory and punitive damages;

           (c) Attorney fees and costs of suit; and

           (d) Such other relief as the Court deems just, equitable and fair.

  COUNT FIVE - FRAUD

   90. Each paragraph set forth above is hereby incorporated by reference, as if fully restated.

   91. USI, Hood and/ or Olson represented to Willow Springs that Willow Springs would have all of its

      necessary insurance coverage to under the claims-made policy.

   92. USI, Hood and/ or Olson knew of the falsity of this representation, or acted with ignorance or

      reckless disregard of its falsity, because USI, Hood and/ or Olson knew of the endorsement or

      exclusion for pending or prior litigation or known incidents/ occurrences, and USI, Hood and/ or

      Olson knew of the importance of such endorsements or exclusions within the nursing industry.

   93. USI, Hood and/ or Olson intended for Willow Springs to rely upon this false representation, so as to

      cause Willow Springs to switch insurers and switch insurance agents (from its former insurer/ agent

      to USI and HC).

   94. Willow Springs did rely upon the representation that it would have all of its necessary insurance

      coverage to under the claims-made policy, to its detriment.

   95. As a result, Willow Springs has been harmed and has suffered, or will suffer, damages.

   96. The above-noted common law fraud also constitutes violations of the Consumer Fraud Act of New

      Jersey, since insurance purchasers are considered consumers under said law.

   WHEREFORE, Plaintiff demands judgment as follows:
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           (a) Equitable relief and specific performance to reform insurance policy HRG-NH01-0007-

               CIVI-01 to provide insurance, defense and indemnification to Plaintiff, and to delete and

               void any policy endorsement and/ or exclusion for pending or prior litigation or known

               incidents/ occurrences.

           (b) Compensatory and punitive damages, plus treble damages for Consumer Fraud Act

               violations;

           (c) Attorney fees and costs of suit; and

           (d) Such other relief as the Court deems just, equitable and fair.

  COUNT SIX - WRONGFUL CLAIM DENIAL

   97. Each paragraph set forth above is hereby incorporated by reference, as if fully restated.

   98. HC-CR issued a denial of coverage letter dated wherein it denied coverage for the Lattarulo claims

      based upon a known incident or occurrence.

   99. Willow Springs disputes that the facts of this case qualify as knowledge of an incident or

      occuiTcnce, within the meaning of the policy.

   100.   Willow Springs disputes that the reasons and rationales for the claim denial as set forth by HC-

      CR in its letter dated May 30, 2017, have a valid basis in the policy.

   101.   Willow Springs denies that the records requests were sufficient notice of a claim or incident so as

      to trigger exclusion under the policy.

   102.   HC-CR’s denial breaches its duty of good faith and fair dealings, implicit within the contract.

   103.   HC-CR’s denial violates the terms and conditions of the policy.

   104.   HC-CR’s denial is based upon a policy term that was never communicated to Willow Springs.

   105.   HC-CR’s denial is based upon a policy term that was never shown to exist to Willow Springs

      until after the Lattarulo claim, and it is unknown if such term was inserted into the policy after the

      Lattarulo claim, solely as a basis to deny coverage for the Lattarulo claim.
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   106.   HC-CR’s denial is based upon an interpretation of Willow Springs’ knowledge of the Lattarulo

      incident that is inconsistent with the meaning of the term knowledge of an incident/ occurrence as

      encompassed within the policy. Furthermore, it is inconsistent with the facts of this case.

   107. Any and/ or all of the reasons set forth above constitute a wrongful denial of claim.

   108. As a result, Willow Springs has been harmed and has suffered, or will suffer, damages.

   WHEREFORE, Plaintiff demands judgment as follows:

           (a) Equitable relief and specific performance to reform insurance policy HRG-NH01-0007-

                 CM-01 to provide insurance, defense and indemnification to Plaintiff, and to delete and

                 void any policy endorsement and/ or exclusion for pending or prior litigation or known

                 incidents/ occurrences.

           (b) Compensatory and punitive damages;

           (c) Attorney fees and costs of suit; and

           (d) Such other relief as the Court deems just, equitable and fair,

  COUNT SEVEN - PROFESSIONAL MALPRACTICE

   109.   Each paragraph set forth above is hereby incorporated by reference, as if fully restated.

   110.   USI, HC-CR, Hood and/ or Olson are licensed professionals permitted lo conduct business and

      services within the State of New Jersey. USI is a licensed business entity in NJ. HC-CR is a

      licensed producer in NJ. Hood and Olson are licensed producers in NJ.

   111.   USI, HC-CR, Hood and/ or Olson as professionals have a duty as agent for the insured to act in

      furtherance of the insured’s interests and in accordance with the standard duty of care for all agents/

      brokers.

   112. As set forth above, the actions of USI, HC-CR, Hood and/ or Olson breached this professional

      standard of care by:
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      (a) failing to investigate the insurance needs of Willow Springs prior to issuing its policy, including

      whether or not Willow Springs required coverage for pending or prior litigation or known incidents

      or occurrences.

      (b) failing to disclose to Willow Springs that the policy being issued would include an endorsement

      or exclusion for pending or prior litigation or known incidents or occurrences.

      (c) failing to advise Willow Springs of the significance of an endorsement or exclusion for pending

      or prior litigation or known incidents or occurrences.

      (d) failing to recommend that Willow Springs purchase tail coverage from its prior insurer due to

      the new policy’s inclusion of an endorsement or exclusion for pending or prior litigation or known

      incidents or occurrences.

      (e) failing to provide a draft of the policy prior to issuance so that Willow Springs could review the

      policy and discover that the policy would include an endorsement or exclusion for pending or prior

      litigation or known incidents or occurrences.

      (f) failing to provide a copy of the policy after it was issued so that Willow Springs could review

      the policy and discover that the policy would include an endorsement or exclusion for pending or

      prior litigation or known incidents or occurrences.

      (g) failing to recommend that Willow Springs renew its existing insurance policy so as to avoid any

      coverage lapse with the new policy’s endorsement or exclusion for pending or prior litigation or

      known incidents or occurrences.

    WHEREFORE, Plaintiff demands judgment as follows:

                (a) Equitable relief and specific performance to reform insurance policy HRG-NH01-

                    0007-CM-01 to provide insurance, defense and indemnification to Plaintiff, and to

                    delete and void any policy endorsement and/ or exclusion for pending or prior

                    litigation or known incidents/ occurrences.
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                  (b) Compensatory and punitive damages;

                  (c) Attorney fees and costs of suit; and




                             CERTIFICATIONS PURSUANT TO NJ COURT RULE

           I hereby certify in accordance with Rule 4:5-1 that the within matter in controversy is not the
   subject of any other action pending in any other court or of a pending arbitration proceeding. There are
   no other known parties who should be joined in this action at this time.

          I also certify that confidential personal identifiers have been redacted from documents now
   submitted to the court, and will be redacted from all documents submitted in the future in accordance
   with Rule 1:38-7(b).

          1 also certify that this Complaint comports with the requirements of Rule 1:4TS7^)


   Dated; November 27, 2018
                                                             AntltonvI. VeHisquez) Esq.
                                                             Attorney
                                                                 u    f m/Plaintiff/



                                   DESIGNATION OF TRIAL COUNSEL

          Pursuant to R. 4:5-1 (c) and R. 4:25-4, Plaintiff designates Anthony L. Velasquez, Esq., as its trial

   counsel in this matter.




   Dated: November 27, 2018
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                      EXHIBIT B
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    By: Jerry A. Lindheim, Esquire
    IDENTIFICATION NO. 028541988
    801 N, Kings Highway
    Cherry Hill, NJ 08034
    (856) 663-8200
    (856) 661-8400
    ilindheiin@lQckslaw.com
    Attorney for Plaintiff(s)

    PAUL LATTARULO, by and through his Power             SUPERIOR COURT OF NEW JERSEY
    of Attorney, PATRICIA A. KEARNS                      OCEAN COUNTY


                          Plaintiff(s)                   LAW DIVISION
                                                         DOCKET NO.
                  v.

    WILLOW SPRINGS OPERATOR, LLC,                            COMPLAINT AND JURY
    WILLOW SPRINGS REHABILITATION AND                        DEMAND; DEMAND FOR
    HEALTHCARE CENTER; SHLOMO                               ANSWERS TO FORM AND
    GOLDBERGER; UKR CONSULTING, LLC;                            SUPPLEMENTAL
    TRYKO GUARDIAN HOLDINGS, LLC;                         INTERROGATORIES; DEMAND
    QUINTO GUARDIAN, LLC; NACHUM                         FOR PRODUCTION OF POLICIES
    ROKEACH, TRUST SK 2013 INVESTMENT;                     AND PROCEDURES; DEMAND
    TRUST YR 2013 INVESTMENT; TRUST YK                        FOR PRODUCTION OF
    2013 INVESTMENT; URI KAHANOW; JOHN                   COMPLETE CERTIFIED COLOR
    and/or JANE DOES MEDICAL DIRECTOR(S)                     COPY OF MEDICAL AND
    “A” through “Z” (fictitious names used to describe         NURSING RECORDS
    unknown defendants); JOHN and/or JANE DOES,
    M.D., “A” through “Z” (fictitious names used to
    describe unknown defendants); JOHN and/or
    JANE DOES, “A” through “Z” (fictitious names                        Hu  return
    used to describe unknown defendants); and ABC                       hi-.UD i/Uj j?
                                                                                    & ni    pn
                                                                                       \ {.LlU
    CORPORATIONS, “A” through “Z” (fictitious
    names used to describe unknown defendants)
    individually, jointly, severally and in the
    alternative
                                                                        SUPERIOR CL CCFAf



                          Defendant(s)
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                                                BACKGROUND

            1.     The Plaintiff PAUL LATTARULO, was admitted to the Defendant WILLOW

    SPRINGS REHABILITATION AND HEALTHCARE CENTER located at 1049 Burnt Tavern

    Road, Brick, New Jersey 08724, on March 31, 2015.

           2.      Plaintiff PAUL LATTARULO was born on October 30, 1931.

           3.      Defendants’ Facility is a licensed long term care facility in the State of New

    Jersey pursuant to state law.

           4.      According to the licensure file obtained from the New Jersey Department of

    Health and Senior Services, Defendants’ Facility was owned by the Defendant, WILLOW

    SPRINGS OPERATOR, LLC. In order to be issued a license to operate a long term care facility,

    the names of owners and officers and/or members must be identified for liability purposes.

           5.      In order to be issued a license to operate a long term care facility, the names of

    owners and officers and/or members must be identified for liability purposes,

           6.      The license #061518 issued to Defendants’ Facility indicates that the officers of

    the Defendant,      WILLOW          SPRINGS    OPERATOR,       LLC,       are Defendants,    SHLOMO

    GOLDBERGER; UKR CONSULTING, LLC; TRYKO GUARDIAN HOLDINGS, LLC;

    QUINTO GUARDIAN, LLC; NACHUM ROKEACH, TRUST SK 2013 INVESTMENT,

    TRUST YR 2013 INVESTMENT, TRUST YK 2013 INVESTMENT, and URI KAHANOW.

           7.      It   is   believed    and,   therefore,   averred   that   the   Defendant,   SHLOMO

    GOLDBERGER, is the individual intimately involved in the management, administration and/or

    decision making at the Defendants7 Facility.

           8.      The Plaintiff, PAUL LATTARULO, received treatment by nurses, aides,

    physicians and other apparent employees of Defendants’ Facility.                 The Plaintiff, PAUL

    LATTARULO, was unable to select or choose any of the professionals and/or individuals who


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     rendered care to him, and believes they were all employees and/or agents of Defendants’

     Facility, and the other legal entities that own and/or manage Defendants’ Facility.

                9.    John and/or Jane Doe Medical Director(s) “A” through “Z” (fictitious names used

     to describe unknown defendants), were the medical director(s) of Defendants’ Facility while the

    Plaintiff, PAUL LATTARULO, was a resident at Defendants’ Facility.

                10.   John and/or Jane Does, M.D., “A” through “Z” (fictitious names used to describe

    unknown defendants), were the medical professionals involved with the care provided and/or

    ownership of entities that provided care to the Plaintiff, PAUL LATTARULO, while the

    Plaintiff, PAUL LATTARULO, was a resident at Defendants’ Facility.

                11.   John and/or Jane Roes, “A” through “Z” (fictitious names used to describe

    unknown defendants), are all individuals involved with the care provided and/or ownership of

    entities that provided care to the Plaintiff, PAUL LATTARULO, while the Plaintiff, PAUL

    LATTARULO, was a resident at Defendants’ Facility.

                12.   ABC Corporations, “A” through “Z” (fictitious names used to describe unknown

    defendants), are corporations or other legal entities involved with the care provided and/or

    ownership of entities that provided care to the Plaintiff, PAUL LATTARULO, while the

    Plaintiff, PAUL LATTARULO, was a resident at Defendants’ Facility.

                13.   It is alleged that all negligent acts attributed to any of the Defendants shall be

    attributed to all of the Defendants, based on the mechanism of decision making at Defendants’

    Facility as well as the application of agency principles.

                14.   It is further alleged that all named Defendants also have direct liability based

    upon input that is made to budgets and the actual decision making that takes place at Defendants’

    Facility.

            15.       As a licensed Long Term Care Facility in New Jersey, Defendants are subject to


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     N.J.S.A. 30:13.1 et seq., which incorporates both the State Regulations found at N.J.A.C. 8:39

     and N.J.A.C. 8:36, as well as the Federal Regulations located at 42 C.F.R. § 483.1 et seq.

                                            FIRST COUNT
                                           General Negligence

              Plaintiffs), PAUL LATTARULO, by and through his Power of Attorney, PATRICIA A.

    KEARNS, at all times relevant herein residing at 315 Foreman Avenue, Point Pleasant, NJ

    08742, County of OCEAN, by way of Complaint against the Defendant(s) WILLOW SPRINGS

    OPERATOR,        LLC;    WILLOW       SPRINGS        REHABILITATION        AND    HEALTHCARE

    CENTER; SHLOMO GOLDBERGER; UKR CONSULTING, LLC; TRYKO GUARDIAN

    HOLDINGS, LLC; QUINTO GUARDIAN, LLC; NACHUM ROKEACH; TRUST SK 2013

    INVESTMENT; TRUST YR 2013 INVESTMENT; TRUST YK 2013 INVESTMENT; URI

    KAHANOW, JOHN and/or JANE DOES MEDICAL DIRECTOR(S) “A” through “Z”

    (fictitious names used to describe unknown defendants); JOHN and/or JANE DOES, M.D., “A”

    through “Z” (fictitious names used to describe unknown defendants); JOHN and/or JANE

    DOES, “A” through “Z” (fictitious names used to describe unknown defendants), and ABC

    CORPORATIONS, “A” through “Z” (fictitious names used to describe unknown defendants)

    individually, jointly, severally and in the alternative individually, jointly, severally and in the

    alternative, say as follows:

              16.   The Plaintiff PAUL LATTARULO, was admitted to the Defendant WILLOW

    SPRINGS REHABILITATION AND HEALTHCARE CENTER located at 1049 Burnt Tavern

    Road, Brick, New Jersey 08724, on March 31, 2015 and subsequently, thereafter, despite known

    risk factors associated with falling by Defendants, Plaintiff PAUL LATTARULO, was caused to

    trip and fall on or about May 21, 2015 sustaining serious and debilitating personal injuries and

    losses.

              17.   Plaintiff PAUL LATTARULO was bom on October 30, 1931.

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            18.     The provisions of OBRA (Omnibus Budget Reconciliation Act of 1987) were

    applicable with regard to the Plaintiffs)’ condition as it existed on or about his 2015 admission

    and at all other relevant times.

            19.     The Defendants’ Facility held itself out as a specialist in the field of adult nursing

    care and rehabilitation with the expertise necessary to maintain the health and safety of persons

    unable to care adequately for themselves, including the Plaintiff PAUL LATTARULO.

            20.     The Defendants were under a contractual duty to provide reasonable and adequate

    health care and rehabilitation to the Plaintiff PAUL LATTARULO, consistent with existing

    community standards.

            21.     At all times pertinent hereto the Plaintiff PAUL LATTARULO was a resident of

    the Defendants’ Facility pursuant to the terms of the applicable admission agreement and, as

    such, was under the exclusive care and control of the Defendants and their agents, officers,

    servants and/or employees.

            22.     The Defendants, its agents, officers, servants and/or employees failed, refused

    and/or neglected to perform the duties to provide reasonable and adequate health care and

    rehabilitation to and for the Plaintiff PAUL LATTARULO, who was unable to attend to his own

    health and safety.

            23.     The Defendants, its agents, officers, servants and/or employees negligently and

    carelessly provided care and treatment to the Plaintiff PAUL LATTARULO, and all of the

    alleged acts, omissions and occurrences herein described or performed by the Defendants, its

    agents, officers, servants and/or employees fell within the course and scope of their agency and

    employment with the Defendants and in furtherance of the Defendants’ business.

            24.     While the Plaintiff PAUL LATTARULO, was a resident of the Defendants’

    Facility, he sustained serious injuries including but not limited to falling multiple times.


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                  25.      The negligence of the Defendants included, but was not limited to the following,

      to wit: (A) permitting abuse of the Plaintiff PAUL LATTARULO; (B) condoning the failure of

      employees to immediately report to supervisory personnel acts of abuse of the Plaintiff PAUL

     LATTARULO;                 (C) permitting inadequate and false charting of the Plaintiff PAUL

     LATTARULO, medical records; (D) failure to notify the physician and the Plaintiff PAUL

     LATTARULO and the family of the Plaintiff PAUL LATTARULO, in a timely manner of

     action which affected the safety and well-being of the Plaintiff PAUL LATTARULO; (E) failure

     to hire a sufficient number of trained and competent staff, as evidenced by continuous

     understaffmg; (F) condoning questionable recording/charting in the medical records of the

     Plaintiff PAUL LATTARULO; (G) violating New Jersey Statutes, New Jersey Administrative

     Regulations, as well as OBRA regulations; (H) failure to adhere to the plan of care; (I) failure to

     discharge employees when the facility knew or should have known of the employee's propensity

    for negligent care of the Plaintiff PAUL LATTARULO; (J) condoning, and thus allowing,

    untrained/unlicensed individuals to provide care to the Plaintiff PAUL LATTARULO; (K)

    failure to properly train employees to deal with geriatric residents who are unable to care for

    themselves as well as residents in need of rehabilitation, (L) failure to properly investigate the

    background of prospective employees; (M) failure to notify supervisors of the on-call physician's

    failure to properly care for the Plaintiff PAUL LATTARULO, as required by regulations in

    effect at the time of this incident; (N) failure to train the employees to recognize medical

    conditions/symptoms which required the Plaintiff PAUL LATTARULO’s, transfer to the
    ... _______    ________________ _   _______________ .   ___ ___ _ Jl*

    hospital; (O) failure to prevent accidents; (P) falling to educate, hire, train, monitor and supervise

    medical and/or other personnel with regard to preventing violent contact with residents,

    including the Plaintiff PAUL LATTARULO herein, and causing resulting harm; (Q) concealing

    and/or falsifying traumatic incidents of residents, including the Plaintiff PAUL LATTARULO,


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    herein; (R) failing to record, note and/or report incidents involving residents, including the

    Plaintiff PAUL LATTARULO, herein.

           26.     As a direct and proximate result of the negligence of the Defendants, their agents,

    officers, servants and/or employees, the Plaintiff PAUL LATTARULO, was caused to sustain

    serious personal injuries, endure great physical pain and mental anguish, and become liable for

    extensive expenses for medical and hospital care and treatment.

           WHEREFORE, Plaintiffs), PAUL LATTARULO, by and through his Power of

    Attorney, PATRICIA A. KEARNS, demands judgment against the Defendant(s) WILLOW

    SPRINGS      OPERATOR,         LLC;     WILLOW        SPRINGS       REHABILITATION          AND

    HEALTHCARE CENTER,            SHLOMO GOLDBERGER; UKR CONSULTING, LLC; TRYKO

    GUARDIAN HOLDINGS, LLC; QUINTO GUARDIAN, LLC; NACHUM ROKEACH;

    TRUST SK 2013 INVESTMENT; TRUST YR 2013 INVESTMENT; TRUST YK 2013

    INVESTMENT; URI KAHANOW; JOHN and/or JANE DOES MEDICAL DIRECTOR(S) “A”

    through “Z” (fictitious names used to describe unknown defendants); JOHN and/or JANE

    DOES, M.D., “A” through “Z” (fictitious names used to describe unknown defendants); JOHN

    and/or JANE DOES, “A” through “Z” (fictitious names used to describe unknown defendants);

    and ABC CORPORATIONS, “A” through “Z” (fictitious names used to describe unknown

    defendants) individually, jointly, severally and in the alternative individually, which will

   reasonably compensate them for the significant injuries, pain and suffering, and other damages

    sustained together with attorneys’ fees, treble damages, punitive damages, interest and costs of

   suit.

                                           SECOND COUNT
                                           Negligence Per Se

           27,    For the sake of brevity, Plaintiffs hereby repeat the allegations of the previous

   Counts and incorporate those allegations in this Count as if set forth more fully herein.

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            28.     N.J.S.A. 30:13, et. seq requires that Defendants comply with all Federal, State and

     local regulations with regard to long-term care facilities.

            29.     Defendants violated OBRA regulations, which establish the minimum standard of

     care to be followed by Defendants, including but not limited to the following: (A) 42 C.F.R. §

     483.13(c)(2) the facility must ensure that all alleged violations involving mistreatment, neglect or

     abuse, including injuries of unknown source are reported immediately to the administrator of the

    facility and to other officials in accordance with State law through established procedures,

    including to the State Survey and Certification Agency; (B) 42 C.F.R, § 483.30(a)(1) the facility

    must provide services by sufficient number of each of the following types of personnel on a

    twenty four (24) hour basis to provide nursing care to all residents in accordance with resident

    care plans (i) except when waived under paragraph (c) of this section, licensed nurses; and (ii)

    other nursing personnel; (C) 42 C.F.R. § 483.25 each resident must receive and the facility must

    provide, the necessary care and services to attain and maintain the highest practicable physical,

    mental and psychosocial well-being, in accordance with the comprehensive assessment and plan

    of care; (D) 42 C.F.R. § 483.20(b) the facility must conduct a proper and adequate assessment

    after a significant change in resident's condition; (E) 42 C.F.R. § 483.20(k) Comprehensive Care

    Plans- the facility must develop a comprehensive care plan that includes measurable objectives

    and timetables to meet a resident's medical, nursing, mental and psychosocial needs that are

    identified in the comprehensive assessment. The plan of care must deal with the relationship of

    items or services ordered to be provided (or withheld) to the facility’s responsibility for fulfilling

    other requirements in these regulations; (F) 42 C.F.R. § 483.25(c) of the OBRA Regulations

    based on the comprehensive assessment of a resident, the facility must ensure that (1) a resident

    who enters the facility without pressure sores does not develop pressure sores unless the

    individual's clinical condition demonstrates that they were unavoidable; and (2) a resident having


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     pressure sores receives necessary treatment and services to promote healing, prevent infection

     and prevent new sores from developing; (G) 42 C.F.R, § 483.25 (h) of the OBRA Regulations,

     Accidents: the facility must ensure that the resident environment remains as free of accident

     hazards as is possible; and each resident receives adequate supervision and assistive devices to

     prevent accidents.

            30.    The Plaintiff, PAUL LATTARULO, fell within the class of persons who the

     statutory rules, regulations and laws were intended to protect by virtue of N.J.S.A. 30:13, et. seq:,

    thus entitling the Plaintiff, PAUL LATTARULO, to adopt such laws as the standard of care for

    measuring Defendants’ conduct. Thus, the Plaintiff, PAUL LATTARULO, asserts a claim for

    negligence per se, asserting that, as a matter of law, the conduct of Defendants amounted to

    negligence and negligence per se.

            WHEREFORE, Plaintiffs), PAUL LATTARULO, by and through his Power of

    Attorney, PATRICIA A, KEARNS, demands judgment against the Defendant(s) WILLOW

    SPRINGS        OPERATOR,         LLC;     WILLOW         SPRINGS       REHABILITATION           AND

    HEALTHCARE CENTER;              SHLOMO GOLDBERGER; UKR CONSULTING, LLC; TRYKO

    GUARDIAN HOLDINGS, LLC; QUINTO GUARDIAN, LLC; NACHUM ROKEACH;

    TRUST SK 2013 INVESTMENT; TRUST YR 2013 INVESTMENT; TRUST YK 2013

    INVESTMENT; URI KAHANOW; JOHN and/or JANE DOES MEDICAL DIRECTOR(S) “A”

    through “Z” (fictitious names used to describe unknown defendants); JOHN and/or JANE

    DOES, M.D., “A” through “Z” (fictitious names used to describe unknown defendants); JOHN

    and/or JANE DOES, “A” through “Z” (fictitious names used to describe unknown defendants);

    and ABC CORPORATIONS, “A” through “Z” (fictitious names used to describe unknown

    defendants) individually, jointly, severally and in the alternative individually, which will

    reasonably compensate them for the significant injuries, pain and suffering, and other damages


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     sustained together with attorneys’ fees, treble damages, punitive damages, interest and costs of

     suit.

                                            THIRD COUNT
                            Deviation of Standard of Care and Gross Neglect

             31.    For the sake of brevity, the Plaintiffs hereby repeat the allegations of the previous

     Counts and incorporate those allegations in this Count as if set forth more folly herein.

             32.    At all relevant times hereto, the Defendant or should have known that their

    residents were elderly and/or disabled and in need of particular care and supervision.

             33.    Defendant failed to exercise adequate care in the supervision of their elderly

    and/or disabled residents, such as the Plaintiff, PAUL LATTARULO, to whom they owed such a

    duty. This failure to exercise such care rises to the level of gross neglect as defined by the

    Legislature and Judiciary of New Jersey.

             34.    As a direct and proximate result of the aforesaid carelessness, recklessness, gross

    neglect and negligence of Defendant, the Plaintiff, PAUL LATTARULO, sustained severe

    personal injuries of both a permanent and temporary nature, was forced to endure great pain and

    suffering, and was forced to incur medical expenses in the care and treatment of said injuries.

             WHEREFORE, Plaintiffs), PAUL LATTARULO, by and through his Power of

    Attorney, PATRICIA KEARNS, demands judgment against the Defendant(s) WILLOW

    SPRINGS        OPERATOR,        LLC;      WILLOW        SPRINGS       REHABILITATION           AND

    HEALTHCARE CENTER;              SHLOMO GOLDBERGER; UKR Ct)NSULTING, LLC; TRYKO

    GUARDIAN HOLDINGS, LLC; QUINTO GUARDIAN, LLC; NACHUM ROKEACH,

    TRUST SK 2013 INVESTMENT; TRUST YR 2013 INVESTMENT; TRUST YK 2013

    INVESTMENT; URI KAHANOW; JOHN and/or JANE DOES MEDICAL DIRECTOR(S) “A"

    through “Z” (fictitious names used to describe unknown defendants); JOHN and/or JANE

    DOES, M.D., “A” through “Z” (fictitious names used to describe unknown defendants); JOHN

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     and/or JANE DOES, “A” through “Z” (fictitious names used to describe unknown defendants),

     and ABC CORPORATIONS, “A” through “Z” (fictitious names used to describe unknown

     defendants) individually, jointly, severally and in the alternative individually, which will

     reasonably compensate them for the significant injuries, pain and suffering, and other damages

     sustained together with attorneys’ fees, treble damages, punitive damages, interest and costs of

     suit.

                                           FOURTH COUNT
                               Negligent Supervision and Negligent Hiring

             35.    For the sake of brevity, the Plaintiffs hereby repeat the allegations of the previous

     Counts and incorporate those allegations in this Count as if set forth more fully herein.

             36.    The Defendants are responsible for hiring competent supervisors, managers,

     nurses and any other personnel necessary to oversee and monitor the treatment at the Defendant

     Facility and its residents, such as the Plaintiff, PAUL LATTARULO.

             37.    The managers, supervisors, nurses and others personnel of Defendants failed to

     exercise due care in monitoring the residents therein,

             38.    The Defendants are liable for the negligence, carelessness and recklessness of its

     employees and agents under the Doctrine of Respondeat Superior.

             39.    As a direct and proximate result of the aforesaid negligence, carelessness and

     recklessness of the Defendants, the Plaintiff, PAUL LATTARULO, sustained severe personal

     injuries of both a permanent and temporary nature, was forced to endure great pain and suffering,

     and was forced to incur medical expenses in the care and treatment of said injuries.

             WHEREFORE, Plaintiffs), PAUL LATTARULO, by and through his Power of

     Attorney, PATRICIA A. KEARNS, demands judgment against the Defendant(s) WILLOW

     SPRINGS       OPERATOR,         LLC;     WILLOW          SPRINGS     REHABILITATION           AND

    HEALTHCARE CENTER;              SHLOMO GOLDBERGER; UKR CONSULTING, LLC; TRYKO

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     GUARDIAN HOLDINGS, LLC; QUINTO GUARDIAN, LLC; NACHUM ROKEACH;

     TRUST SK 2013 INVESTMENT; TRUST YR 2013 INVESTMENT; TRUST YK 2013

     INVESTMENT; URI KAHANOW; JOHN and/or JANE DOES MEDICAL DIRECTOR(S) “A”

     through “Z” (fictitious names used to describe unknown defendants); JOHN and/or JANE

     DOES, M,D,, “A” through “Z” (fictitious names used to describe unknown defendants); JOHN

     and/or JANE DOES, “A” through “Z” (fictitious names used to describe unknown defendants);

     and ABC CORPORATIONS, “A” through “Z” (fictitious names used to describe unknown

     defendants) individually, jointly, severally and in the alternative individually, which will

     reasonably compensate them for the significant injuries, pain and suffering, and other damages

     sustained together with attorneys’ fees, treble damages, punitive damages, interest and costs of

     suit.

                                              FIFTH COUNT
                                             Punitive Damages

             40.    For the sake of brevity, the Plaintiffs hereby repeat the allegations of the previous

     Counts and incorporate those allegations in this Count as if set forth more fully herein.

             41.    The aforementioned acts of the Defendants were outrageous and performed

    willfully, wantonly and with complete disregard to the Plaintiff, PAUL LATTARULO’s, rights

    and in reckless indifference to the rights of others and specifically the Plaintiff, PAUL

    LATTARULO, and his family, and those acts further shocked the conscience of the community,

             WHEREFORE, Plaintiffs), PAUL LATTARULO, by and through his Power of

    Attorney, PATRICIA A. KEARNS, demands judgment against the Defendant(s) WILLOW

    SPRINGS        OPERATOR,         LLC;     WILLOW        SPRINGS       REHABILITATION           AND

    HEALTHCARE CENTER;              SHLOMO GOLDBERGER; UKR CONSULTING, LLC; TRYKO

    GUARDIAN HOLDINGS, LLC; QUINTO GUARDIAN, LLC; NACHUM ROKEACH;

    TRUST SK 2013 INVESTMENT; TRUST YR 2013 INVESTMENT; TRUST YK 2013

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     INVESTMENT; URI KAHANOW; JOHN and/or JANE DOES MEDICAL DIRECTOR(S) “A”

     through “Z” (fictitious names used to describe unknown defendants); JOHN and/or JANE

     DOES, M.D., “A” through “Z” (fictitious names used to describe unknown defendants), JOHN

     and/or JANE DOES, “A” through “Z” (fictitious names used to describe unknown defendants);

     and ABC CORPORATIONS, “A” through “Z” (fictitious names used to describe unknown

    defendants) individually, jointly, severally and in the alternative individually, which will

    reasonably compensate them for the significant injuries, pain and suffering, and other damages

    sustained together with attorneys’ fees, treble damages, punitive damages, interest and costs of

    suit.

                                            SIXTH COUNT
                                       Resident Rights Violations

            42.    For the sake of brevity, the Plaintiffs hereby repeat the allegations of the previous

    Counts and incorporate those allegations in this Count as if set forth more fully herein.

            43.    During the entire period of the Plaintiff, PAUL LATTARULO’s residency at the

    Defendant Facility, Defendants were subject to N.J.S.A. 30:13 regarding the responsibilities and

    rights of residents in skilled nursing facilities. Based on the aforementioned allegations,

    Defendants breached the following statutes in their actions toward Plaintiff(s): (A) 30:13-3(c);

    (B) 30:13-3(h); (C) 30:13-50); and (D) 30:13-5(m),

            44.    As a direct and proximate result of the aforesaid statutory violations by

    Defendants, the Plaintiff, PAUL LATTARULO, sustained severe personal injuries of both a

    permanent and temporary nature, was forced to endure great pain and suffering, and was forced

    to incur medical expenses in the care and treatment of said injuries,

            WHEREFORE, Plaintiffs), PAUL LATTARULO, by and through his Power of

    Attorney, PATRICIA A. KEARNS, demands judgment against the Defendant(s) WILLOW

    SPRINGS       OPERATOR          LLC;     WILLOW        SPRINGS          REHABILITATION        AND

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     HEALTHCARE CENTER;              SHLOMO GOLDBERGER; UKR CONSULTING, LLC; TRYKO

     GUARDIAN HOLDINGS, LLC; QUINTO GUARDIAN, LLC; NACHUM ROKEACH;

     TRUST SK 2013 INVESTMENT; TRUST YR 2013 INVESTMENT; TRUST YK 2013

     INVESTMENT; URI KAHANOW, JOHN and/or JANE DOES MEDICAL DIRECTOR(S) “A”

     through “Z” (fictitious names used to describe unknown defendants); JOHN and/or JANE

     DOES, M.D., “A” through “Z” (fictitious names used to describe unknown defendants), JOHN

     and/or JANE DOES, “A” through “Z” (fictitious names used to describe unknown defendants);

     and ABC CORPORATIONS, “A” through “Z” (fictitious names used to describe unknown

     defendants) individually, jointly, severally and in the alternative individually, which will

     reasonably compensate them for the significant injuries, pain and suffering, and other damages

     sustained together with attorneys’ fees, treble damages, punitive damages, interest and costs of

     suit

                                         SEVENTH COUNT
                          John and/or Jane Doe Medical Director(s) Negligence

               45.   For the sake of brevity, the Plaintiffs hereby repeat the allegations of the previous

     Counts and incorporate those allegations in this Count as if set forth more fully herein.

               46.   The Defendants, John and/or Jane Doe Medical Director(s) were the medical

     directors of the Defendant Facility while the Plaintiff, PAUL LATTARULO, was a resident at

     the Defendant Facility.

               47.   At all times mentioned hereinafter Defendant, John and/or Jane Doe Medical

     DirectorfsL were and are now medical directors licensed under the laws of the State of New

     Jersey,

               48.   At all times mentioned hereinafter the Defendant, John and/or Jane Doe Medical

     Director(s) were engaged in the practice of their profession in the State of New Jersey, and more

     specifically was engaged in the profession of being a Medical Director pursuant to both State and

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     Federal Statutes and Regulations.

             49.       At all times mentioned hereinafter the Defendant, John and/or Jane Doe Medical

     Director(s) professed and held themselves out to the public and to the Plaintiff, PAUL

     LATTARULO, as being skilled, careful and diligent in the practice of general medicine a

     medical director, and geriatric medicine, Specifically, the Defendant, John and/or Jane Doe

     Medical Director held themselves out as one who is competent to assess, diagnose, supervise a

     plan of care, implement said plan of care and evaluate the effectiveness of said plan of care with

     regard to nursing home residents, such as the Plaintiff, PAUL LATTARULO. Defendant(s) John

     and/or Jane Doe Medical Director(s) also held themselves out as one who was competent to treat

     and initiate medical and nursing home interventions to treat and prevent skin breakdown, prevent

     other harms, and adequately monitor his condition.

             50.       The Defendants in their treatment, care and supervision for the Plaintiff, PAUL

     LATTARULO, did personally by and through his agents, servants and/or employees negligently

     failed to exercise ordinary care, and otherwise failed to exercise the degree of care exercised by

     other doctors in like cases, having regard to the existing state of knowledge in general medicine

     and geriatrics.

             51.       As a direct and proximate result of the Defendant, John and/or Jane Doe Medical

     Director(s)’ negligent treatment, evaluation and assessment, the Plaintiff, PAUL LATTARULO,

     sustained severe personal injuries of both a permanent and temporary nature, was forced to

     endure great pain and suffering, required to obtain additional extensive medical treatment and

     was forced to incur medical expenses in the care and treatment of said injuries,

             WHEREFORE, Plaintiffs), PAUL LATTARULO, by and through his Power of

     Attorney, PATRICIA A. KEARNS, demands judgment against the Defendant(s) WILLOW

     SPRINGS       OPERATOR,          LLC;     WILLOW       SPRINGS       REHABILITATION         AND


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     HEALTHCARE CENTER; SHLOMO GOLDBERGER; UKR CONSULTING, LLC; TRYKO

     GUARDIAN HOLDINGS, LLC; QUINTO GUARDIAN, LLC; NACHUM ROKEACH;

     TRUST SK 2013 INVESTMENT; TRUST YR 2013 INVESTMENT; TRUST YK 2013

     INVESTMENT; URJ KAHANOW; JOHN and/or JANE DOES MEDICAL DIRECTOR(S) “A”

     through “Z” (fictitious names used to describe unknown defendants); JOHN and/or JANE

     DOES, M.D., “A” through “Z” (fictitious names used to describe unknown defendants); JOHN

     and/or JANE DOES, “A” through “Z” (fictitious names used to describe unknown defendants);

     and ABC CORPORATIONS, “A” through “Z” (fictitious names used to describe unknown

     defendants) individually, jointly, severally and in the alternative individually, which will

     reasonably compensate them for the significant injuries, pain and suffering, and other damages

     sustained together with attorneys’ fees, treble damages, punitive damages, interest and costs of

     suit.

                                          EIGHTH COUNT
                   Punitive Damages Against John and/or Jane Doe Medical Director(s)

             52.     For the sake of brevity, the Plaintiffs hereby repeat the allegations of the previous

     Counts and incorporate those allegations in this Count as if set forth more fully herein.

             53.     The aforementioned acts of the Defendant(s) John and/or Jane Doe Medical

     Director(s) were outrageous and performed willfully, wantonly and with complete disregard to

     the Plaintiff, PAUL LATTARULO’s rights and in reckless indifference to the rights of others

     and specifically the Plaintiff, PAUL LATTARULO, and his family, and those acts further

     shocked the conscience of the community.

             WHEREFORE, Plaintiff(s), PAUL LATTARULO, by and through his Power of

     Attorney, PATRICIA A. KEARNS, demands judgment against the Defendant(s) WILLOW

     SPRINGS        OPERATOR         LLC;     WILLOW         SPRINGS       REHABILITATION           AND

    HEALTHCARE CENTER; SHLOMO GOLDBERGER; UKR CONSULTING, LLC; TRYKO

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     GUARDIAN HOLDINGS, LLC; QUINTO GUARDIAN, LLC; NACHUM ROKEACH;

     TRUST SK 2013 INVESTMENT; TRUST YR 2013 INVESTMENT; TRUST YK 2013

     INVESTMENT; URI KAHANOW, JOHN and/or JANE DOES MEDICAL DIRECTOR(S) “A”

     through “Z” (fictitious names used to describe unknown defendants); JOHN and/or JANE

     DOES, M.D., “A” through “Z” (fictitious names used to describe unknown defendants); JOHN

     and/or JANE DOES, “A” through “Z” (fictitious names used to describe unknown defendants);

     and ABC CORPORATIONS, “A” through “Z” (fictitious names used to describe unknown

     defendants) individually, jointly, severally and in the alternative individually, which will

     reasonably compensate them for the significant injuries, pain and suffering, and other damages

     sustained together with attorneys’ fees, treble damages, punitive damages, interest and costs of

     suit.

                                             NINTH COUNT
                        Resident Rights Violations by John Doe Medical Director(s)

             54.      For the sake of brevity, the Plaintiffs hereby repeat the allegations of the previous

     Counts and incorporate those allegations in this Count as if set forth more fully herein.

             55.      During the entire period of the Plaintiff, PAUL LATTARULO’s, residency at

    Defendant Facility, the Defendants were subject to N.J.S.A. 30:13 regarding the responsibilities

     and rights of residents in skilled nursing facilities. Based on the aforementioned allegations,

    Defendants John and/or Jane Doe Medical Director(s) breached the following statutes in their

     actions toward the Plaintiff, PAUL LATTARULO: (A) 30:13-3(c); (B) 30:13-3(h); (C) 30:13-

     5(j); and (D) 30:13-5(m). _ ..........

             56.      As a direct and proximate result of the aforesaid statutory violations by the

    Defendant(s), the Plaintiff, PAUL LATTARULO, sustained severe personal injuries of both a

    permanent and temporary nature, was forced to endure great pain and suffering, and was forced

    to incur medical expenses in the care and treatment of said injuries.

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            WHEREFORE, Plaintiff(s), PAUL LATTARULO, by and through his Power of

    Attorney, PATRICIA A. KEARNS, demands judgment against the Defendant(s) WILLOW

     SPRINGS       OPERATOR,        LLC;     WILLOW         SPRINGS       REHABILITATION           AND

    HEALTHCARE CENTER; SHLOMO GOLDBERGER; UKR CONSULTING, LLC; TRYKO

    GUARDIAN HOLDINGS, LLC, QUINTO GUARDIAN, LLC; NACHUM ROKEACH;

    TRUST SK 2013 INVESTMENT; TRUST YR 2013 INVESTMENT; TRUST YK 2013

    INVESTMENT; URI KAHANOW; JOHN and/or JANE DOES MEDICAL DIRECTOR(S) “A”

    through “2” (fictitious names used to describe unknown defendants); JOHN and/or JANE

    DOES, M.D., “A” through “Z” (fictitious names used to describe unknown defendants); JOHN

    and/or JANE DOES, “A” through “Z” (fictitious names used to describe unknown defendants);

    and ABC CORPORATIONS, “A” through “Z” (fictitious names used to describe unknown

    defendants) individually, jointly, severally and in the alternative individually, which will

    reasonably compensate them for the significant injuries, pain and suffering, and other damages

    sustained together with attorneys’ fees, treble damages, punitive damages, interest and costs of

    suit.

                                             TENTH COUNT
                                 Fictitious Individual/Entity Negligence

            57.    For the sake of brevity, the Plaintiffs hereby repeat the allegations of the previous

    Counts and incorporate those allegations in this Count as if set forth more fully herein.

            58.    The Plaintiff, PAUL LATTARULO, hereby name John and/or Jane Does, M.D.,

    “A” through “Z” (fictitious names used to describe unknown defendants), John and/or Jane

    Does, “A” through “Z” (fictitious names used to describe unknown defendants), and ABC

    Corporations, “A” through “Z” (fictitious names used to describe unknown defendants), as an

    individual, partnership, corporation and/or other legal entity who has either been misidentified

    and/or omitted as a Defendant(s), and whose negligence contributorily caused the injuries

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     sustained herein by the Plaintiff, PAUL LATTARULO.

             WHEREFORE, Plaintiff(s), PAUL LATTARULO, by and through his Power of

     Attorney, PATRICIA A. KEARNS, demands judgment against the Defendant(s) WILLOW

     SPRINGS       OPERATOR,        LLC;     WILLOW         SPRINGS       REHABILITATION          AND

     HEALTHCARE CENTER; SHLOMO GOLDBERGER; UKR CONSULTING, LLC; TRYKO

     GUARDIAN HOLDINGS, LLC; QUINTO GUARDIAN, LLC; NACHUM ROKEACH;

     TRUST SK 2013 INVESTMENT; TRUST YR 2013 INVESTMENT; TRUST YK 2013

     INVESTMENT; URI KAHANOW; JOHN and/or JANE DOES MEDICAL DIRECTOR(S) “A”

     through “Z” (fictitious names used to describe unknown defendants), JOHN and/or JANE

     DOES, M.D., “A” through “Z” (fictitious names used to describe unknown defendants); JOHN

     and/or JANE DOES, “A” through “Z” (fictitious names used to describe unknown defendants);

     and ABC CORPORATIONS, “A” through “Z” (fictitious names used to describe unknown

     defendants) individually, jointly, severally and in the alternative individually, which will

     reasonably compensate them for the significant injuries, pain and suffering, and other damages

     sustained together with attorneys’ fees, treble damages, punitive damages, interest and costs of

     suit,

                                           ELEVENTH COUNT
                                             Consumer Fraud

             59,   For the sake of brevity, the Plaintiffs hereby repeat the allegations of the previous

    Counts and incorporate those allegations in this Count as if set forth more fully herein.

             60,   The actions of the Defendants, their representations and misrepresentations

    regarding the level of care to be delivered by their facility to the Plaintiff, PAUL LATTARULO,

    and/or their omissions of material facts were in fact and known to be false and/or misleading by

    Defendants at the time they were so made,

             61,   At all relevant times, Defendants falsely, fraudulently, and with intent to defraud,

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     represented to the Plaintiff, PAUL LATTARULO, and his family, that Defendants would

     provide an excellent quality of care and follow the accepted standards of care related to the care

     and treatment of a long term care nursing home resident.

            62.    The Plaintiff, PAUL LATTARULO, reasonably relied and acted upon the

     representations made by Defendants.

            63.    As a result of the Defendants’ deliberate and knowing misrepresentations and

     omissions concerning the quality of care to be delivered to the Plaintiff, PAUL LATTARULO,

     by the Defendant Facility, the Plaintiff, PAUL LATTARULO has suffered damages.

            WHEREFORE, Plaintiffs), PAUL LATTARULO, by and through his Power of

     Attorney, PATRICIA A. KEARNS, demands judgment against the Defendant(s) WILLOW

     SPRINGS      OPERATOR,         LLC;     WILLOW        SPRINGS       REHABILITATION           AND

    HEALTHCARE CENTER; SHLOMO GOLDBERGER; UKR CONSULTING, LLC; TRYKO

     GUARDIAN HOLDINGS, LLC; QUINTO GUARDIAN, LLC; NACHUM ROKEACH;

     TRUST SK 2013 INVESTMENT; TRUST YR 2013 INVESTMENT; TRUST YK 2013

    INVESTMENT; URJ KAHANOW; JOHN and/or JANE DOES MEDICAL DIRECTOR(S) “A”

    through “Z” (fictitious names used to describe unknown defendants); JOHN and/or JANE

    DOES, M.D., “A” through “Z” (fictitious names used to describe unknown defendants); JOHN

    and/or JANE DOES, “A” through “Z” (fictitious names used to describe unknown defendants);

    and ABC CORPORATIONS, “A” through “Z” (fictitious names used to describe unknown

    defendants) individually, jointly, severally and in the alternative individually, which will

    reasonably”cbrhpehsate them for the significant injuriesrpaiiTalTd~s'U'fftrring'La7id_other damages_ "

    sustained together with attorneys’ fees, treble damages, punitive damages, interest and costs of

    suit.




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                                        TWELFTH COUNT
                                  PLAINTIFF(S) VS. DEFENDANT(S)

                                       RESPONDEAT SUPERIOR

            64.     For the sake of brevity, the Plaintiffs hereby repeat the allegations of the previous

     Counts and incorporate those allegations in this Count as if set forth more fully herein.

            65.     At all relevant times hereto, the Defendants were acting through their agents,

     servants and\or employees acting within the scope of their employment,

            66.     The Defendants failed to exercise adequate care in the supervision of their elderly

     residents, such as the Plaintiff, PAUL LATTARULO, to whom they owed such a duty.

            67.     As a direct and proximate result of the aforesaid carelessness, recklessness and

     negligence of the Defendant(s), the Plaintiff, PAUL LATTARULO, sustained severe personal

     injuries of both a permanent"and temporary nature, was forced to endure great pain and suffering,

     and was forced to incur medical expenses in the care and treatment of said injuries.

            WHEREFORE, Plaintiffs), PAUL LATTARULO, by and through his Power of

     Attorney, PATRICIA A. KEARNS, demands judgment against the Defendant(s) WILLOW

     SPRINGS       OPERATOR,         LLC;     WILLOW        SPRINGS       REHABILITATION           AND

     HEALTHCARE CENTER;             SHLOMO GOLDBERGER; UKR CONSULTING, LLC; TRYKO

     GUARDIAN HOLDINGS, LLC; QUINTO GUARDIAN, LLC; NACHUM ROKEACH;

     TRUST SK 2013 INVESTMENT; TRUST YR 2013 INVESTMENT; TRUST YK 2013

     INVESTMENT; URI KAHANOW; JOHN and/or JANE DOES MEDICAL DIRECTORS) “A”

     through “Z” (fictitious_names used to describe unknown defendants); JOHN and/or JANE

     DOES, M.D., “A” through “Z” (fictitious names used to describe unknown defendants); JOHN

     and/or JANE DOES, “A” through “Z” (fictitious names used to describe unknown defendants);

     and ABC CORPORATIONS, “A” through “Z” (fictitious names used to describe unknown

     defendants) individually, jointly, severally and in the alternative individually, which will

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     reasonably compensate them for the significant injuries, pain and suffering, and other damages

     sustained together with attorneys’ fees, treble damages, punitive damages, interest and costs

     suit.

                                                 LOCK!


                                                 BY:




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                                      JURY DEMAND AND TRIAL COUNSEL DESIGNATION

                            Please take notice that Plaintiffs) hereby demands a trial by jury as to all issues and that

                   pursuant to rule 4:25-4, Jerry A. Lindheim, Esquire of the Locks Law Firm, LLC is hereby

                   designated as trial counsel in the above captioned matter .

                                                                  LOCKS LAW FIMY1, LLC


                                                                  BY:
                                                                          jeimy a. Rind

                                         DEMAND FOR ANSWERS TCWNTERROGA

                            Please take notice that Plaintiffs) demana that Defendant)*) answer Form C and C-3

                   Interrogatories in accordance with R4:17 (b) (2). Plaintiffs) further demand complete answers to

                   attached Supplemental Interrogatories.




                           Please take notice that the undersigned attorneys, counsel for Plaintiffs), do hereby

                   demand, pursuant to Rules 1:5- 1(a) and 4;17-4(c), that each party herein serving pleadings and

                   interrogatories and receiving answers thereto, serve copies of all such pleadings and answered

                   interrogatories received from any party, including any documents, papers and other material

                   referred to therein, upon the undersigned attorneys, please take notice that this is a continuing

----------------   demand:-------------------------------

                                                                  LOCKS LAWJPM, LLC




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                            CERTIFICATION PURSUANT TO RULE 4:5-1

            Pursuant to Rule 4:5-1, the undersigned hereby certifies that the above action is not the

    subject of any other pending lawsuit or arbitration proceeding.         There are no other persons

    interested in the above action that has not been made a party to said action.

                                                   LOCKS I^W fTR»I, LLC


                                                   BY:
                                                                            IDFfE

        DEMAND FOR PRODUCTION OF COMPLETjfifcERTIFlED (fgLOR COPY OF
                MEDICAL AND NURSING RECORDS OF PLAINTIFFtS)

            Plaintiffs) hereby demand a certified color copy of Defendants)’ entire and complete

    medical records and chart for Plaintiffs). The records shall be produced as they are kept in the

    usual course of business pursuant to R. 4:18-1 (b) (1) and within the time period set out in R,

    4:18-1 (b).

                                                   LOCKS LAj


                                                   BY:


                           DEMAND FOR POL1C1E

            Plaintiffs) hereby demand a complete copy of any and all nursing and administrative

    policies maintained during the time period in which Plaintiffs) was a resident at Defendant

    Facility. The records shall be produced as they are kept in the usual course of business pursuant

    to R. 4:18-1 (b) (1) and within the time period set out in R. 4:18-1 (b).

                                                   LOCKS LAiArRi'


                                                   BY:




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    LOCKS LAW FIRM, LLC
    By: Jerry A. Lindheim, Esquire
    IDENTIFICATION NO. 028541988
    801 N. Kings Highway
    Cherry Hill, NJ 08034
    (856)663-8200
    (856)661-8400
    ilindheim@lockslaw.com
    Attorney for Plaintiffs)

    PAUL LATTARULO, by and through his            SUPERIOR COURT OF NEW JERSEY
    Power of Attorney, PATRICIA A.                OCEAN COUNTY
    KEARNS

                          Plaintiffs)             LAW DIVISION
                                                  DOCKET NO.
                   v.

    WILLOW SPRINGS OPERATOR, LLC;                 COMPLAINT AND JURY DEMAND;
    WILLOW SPRINGS REHABILITATION                    DEMAND FOR ANSWERS TO
    AND HEALTHCARE CENTER;                           FORM AND SUPPLEMENTAL
    SHLOMO GOLDBERGER; UKR                          INTERROGATORIES; DEMAND
    CONSULTING, LLC; TRYKO                         FOR PRODUCTION OF POLICIES
    GUARDIAN HOLDINGS, LLC;                          AND PROCEDURES; DEMAND
    QUINTO GUARDIAN, LLC; NACHUM                        FOR PRODUCTION OF
    ROKEACH; TRUST SK 2013                         COMPLETE CERTIFIED COLOR
    INVESTMENT; TRUST YR 2013                          COPY OF MEDICAL AND
    INVESTMENT; TRUST YK 2013                            NURSING RECORDS
    INVESTMENT; URIKAIIANOW;
    JOHN and/or JANE DOES MEDICAL
    DERECTOR(S) “A” through “Z”
    (fictitious names used to describe
    unknown defendants); JOHN and/or
    JANE DOES, M.D., “A” through “Z”
    (fictitious names used to describe
    unknown defendants); JOHN and/or
    JANE DOES, “A” through “Z" (fictitious
    names used to describe unknown
    defendants); and ABC CORPORATIONS,
    “A”thfougH“Z” (fictitious names used to
    describe unknown defendants)
    individually, jointly, severally and in the
    alternative
    __ ________________ Defendant(s)_____ _

           PLEASE TAKE NOTICE that the undersigned hereby demands that Defendant(s)


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     provide certified answers to the following supplemental interrogatories within the time
     prescribed by the New Jersey Rules of Court.

            1.      Please provide a typed listing of the complete names of every physician,
    physician s assistant, advanced nurse practitioner, nurse, RN, LPN, CNA, any other employee
    and/or agent and/or agency nurse, and/or independent contractor who signed and/or placed any
    markings in any chart or records relating to Plaintiffs). In addition, please indicate whether each
    individual is an employee of any specific Defendant(s), for which Defendant(s) said individual is
    employed, and if not still employed, indicate for which Defendant(s) they were employed, dates
    of employment, and their last known address and telephone number.

           2.      Please provide a typed listing of the complete names of every physician,
    physician’s assistant, advanced nurse practitioner, nurse, RN, LPN, CNA, any other employee
    and/or agent and/or agency nurse, and/or independent contractor who treated Plaintiffs) for the
    period of time Plaintiffs) was a resident at Defendant Facility.

            3.      Please provide a typed listing of the names and addresses, as well as positions
    held and dates employed, of all individuals indicated in interrogatory #2. If you believe that any
    other person or entity not specifically named as a direct Defendant(s) is responsible for the
    Plaintiffs)’ injuries, please provide that individual and/or other entity’s name, along with the
    theory as to why they are responsible for any of Plaintiffs)’ damages.

            4.     Please identify the present nursing home administrator of Defendant Facility
    established pursuant to 42 C.F.R. § 483.75(d), as well as the names of the nursing home
    administrator(s), if different, for the period of time encompassing Plaintiffs)’ residency at
    Defendant Facility.

           5.     Please identify the present director of nursing of Defendant Facility, as well as the
    names of the director(s) of nursing, if different, for the period of time encompassing Plaintiffs)
    residency at Defendant Facility.

             6.      Identify whether any of the answering Defendant(s) have ever been sued prior to
    this litigation. If affirmative, please provide the following:

                   a)      date of incident and/or filing of each complaint; and

                   b)      caption of the case(s), including docket number(s) and State(s) and
                           Count(ies) of Venue; and

                   c)      name(s) of plaintiffs attorn(ies); and

                  ■ d)     name(s-)-of-defense attorn(ies) representing the answer-ing-Defendant(s);
                           and

                   e)      name(s) of and other attom(ies) involved in the litigation(s).

           7.    Please provide the name of all individuals and/or entities that made up the
    governing body of Defendant Facility established pursuant to 42 C.F.R. § 483.75(d) on the date


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           of Plaintiffs) admission to Defendant Facility; and the name(s) of all individuals and/or entities
           that were made a pail of the governing body of Defendant Facility after that date, supplying legal
           name(s) and all dates the makeup of the governing body changed. For all entities applicable to
           your answer to this interrogatory, provide the date the entity was formed, its initial officers
           and/or members, and the officers and/or members on the date the entity became part of the
           Defendant Facility governing body.

                  8.      If it is alleged by Defendant(s) that a management company was employed,
           contracted and/ or present at Defendant Facility for any of the period of time encompassing
           Plaintiffs)’ residency, please provide the name(s), address(es), and phone numbefs) of the
           management company(ies), and produce a copy of all applicable management agreement(s).

                   9.      Please provide the legal name of the owner of Defendant Facility; if Defendant
           Facility is owned by a legal entity, please provide the names of all officers and/or members of
           said entity. For all entities applicable to your answer to this interrogatory, provide the date the
           entity was formed, its initial officers and/or members, and the officers and/or members on the
           date the entity contracted to become the Defendant Facility’s management company.

                   10.     Please provide the legal name of the titled owner of the real property which
           houses the Defendant Facility. Please produce a copy of all leases that were applicable for the
           period of residency of Plaintiffs).




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